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                              UNITED STATES DISTIUCT co1;irr
                              SOUTHER, DISTRICT OF FLORIDA

                                 CASE :'\O. 19-20674-CR-GA YLES


  U:\ITED STATES OF AMERICA

 Y,


  LAZARO ROBERTO HERSA:\"DEZ,

                         Defendant.
 - - - - - - - - - - - - - - - - -I
                                        PLEA AGREEMENT

         The United States of America and LAZARO ROBERTO HERNANDEZ (hereinafter

 referred to as the "defendant") enter into the follo,ving agreement:

         1.      The defendant agrees to plead guilty to Counts 2 and 3 of the indictment, which

  counts charge him with conspiracy to traffic in adulterated and mis-branded medical products and

  with money laundering conspiracy, in violation of Title 18, United States Code, Sections 670 and

  1956(h).

         2.      The United States agrees to seek dismissal of the remammg counts of the

  indictment, as to this defendant, after sentencing. The defendant is aware that his sentence will

  be imposed by the court after considering the Federal Sentencing Guidelines and Policy Statements

  (hereinafter "Sentencing Guidelines").

         3.      The defendant understands that the comi will determine his advisory sentence range

  under the Sentencing Guidelines, by relying in part on a Pre-Sentence Investigation conducted by

  the court's Probation Office after his guilty plea has been entered.   The defendant further

  understands that the court is required to consider the Sentencing Guidelines advisory range, but is
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not bound to impose that sentence; the court is permitted to decide his sentence based upon other

statutory concerns, and his scmcncc may be either more severe or less severe than the Sentencing

 Guidelines' advisory range. Knov-,1ing these facts, the defendant understands that the cour~ has the

authority to impose any sentence within and up to the statutory maximum authorized by law for

 the offenses identified in paragraph ] and that the defendant may not \Vithdraw his pica solely as

a result of the sentence imposed.

        4.      The defendant understands and acknowledges that the court may impose a statutory

 maximum term of imprisonment of up to 15 years for Count 2 and 20 years for Count 3, followed

 by a term of supervised release of up to 3 years. In addition to a term of imprisomnent and

 supervised release, the court may impose a fine ofup to $250,000 for Count 2 and twice the amount

 laundered for Count 3.

        5.      The defendant understands that, in addition to any sentence imposed under

                                                                                        "
 paragraph 4 of this agreement, a special assessment in the amount of $200 will be imposed. The

 defendant agrees that the special assessment shall be paid at the time of sentencing.

        6.      The United States reserves the right to inform the comi and the probation office of

 all facts pertinent to the sentencing process, including all relevant information concerning the

 offenses committed, whether charged or not, as well as concerning the defendant and his

 background. Subject only to the express terms of any sentencing recommendations contained in

 this agreement, the United States further reserves the right to make any recommendation as to the

 quality and quantity of punishment.

        7.      The United States and the defendant jointly agree to recommend that the defendant

 be held accountable for offense conduct involving approximately $78 million wo1ih of adulterated

 and misbranded pharmaceutical drugs, for the purpose of sentencing guidelines computations



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 under Guidelines Section 2131.1. The Cnited States agrees that it will not recommend any role

 adjustment in the defendant's guideline computations. The parties also jointly recommend that

 in addition lo the base offense level and the adjustment for the loss amount, the only other

 applicable Guidelines adjustments are as follows: .. 4 under §2B 1.1 (b )(8(13), the offense conduct

 involved violation of 18 l:sc §670 and the defendant was an agent of an organization in the supply

 chain for the pre-retail medical product, and · 2 under §2S 1.1 (b)(B(2), the defendant was convicted

 under 18 CSC § 1956. The United States further agrees to recommend that the sentence imposed

 in this case run concurrently to the sentence to be imposed in Case ~o. 22-60129-CR-SINGIIAL.

        8.      The United States agrees that this guilty plea resolves all criminal charges that could

 have been brought against the defendant for conduct known to the United States during the time

 span covered by the allegations in the indictment.

        9.      The United States agrees to recommend at sentencing that the court reduce by two

 levels the sentencing guideline level applicable to the defendant's offense, pursuant to Section

 3El.1 (a) of the Sentencing Guidelines, based upon the defendant's affirmative and timely

 acceptance of personal responsibility for his offense. If the defendant's guideline range is level 16

 or above, the United States will move for an additional one-level reduction pursuant to Sentencing

 Guideline Section 3E 1.1 (b). The United States fmiher agrees to recommend that the defendant

 be sentenced at the low end of the guideline range, as that range is determined by the comi.

 However, the United States will not be required to make this motion or these recommendations if

 the defendant: (1) fails or refuses to make a full, accurate and complete disclosure to the Probation

 Office of his relevant offense conduct; (2) is found to have misrepresented relevant facts to the

 government prior to entering into this plea agreement; or (3) commits any misconduct after

 entering into this plea agreement; including but not limited to committing a state or federal offense,



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  violating any term of release, or making false statements or misrepresentations to any government

  entity or official.

          9.       The defendant agrees to forfeit to the Lnited States, voluntarily and immediately

  his right, title, and interest to any properly, real or personal, involved in the offense in violation of

  18 L.S.C. § 1956 to which he is pleading guilty, and any property traceable to such property,

  pursuant to 18 L.S.C. § 982(a)(l).      In addition, the defendant agrees to forfeiture of substitute

  property pursuant to 21 C.S.C. § 853(p). The property subject to forfeiture includes, but is not

  limited to: a forfeiture money judgment in the sum of approximately S78 million, which sum

  represents the value of the property subject to forfeiture.

          10.      The defendant understands that forfeiture is independent of any assessment, fine,

  cost, restitution, or penalty that may be imposed. The defendant knowingly and voluntarily agrees

  to waive all constitutional, legal, and equitable defenses to the forfeiture, including excessive fines

  under the Eighth Amendment to the United States Constitution. In addition, the defend~nt agrees

  to waive: any applicable time limits for administrative or judicial forfeiture proceedings, the

  requirements of Fed. R. Crim. P. 32.2 and 43(a), and any appeal of the forfeiture.

          11.      The defendant also agrees to fully and truthfully disclose the existence, nature and

  location of all assets in which the defendant has or had any direct or indirect financial interest or

  control, and any assets involved in the offense of conviction. The defendant agrees to take all

  steps requested by the United States for the recovery and forfeiture of all assets identified by the

  United States as subject to forfeiture. This includes, but is not limited to, the timely delivery upon

  request of all necessary and appropriate documentation to deliver good and marketable title,

  consenting to all orders of forfeiture, and not contesting or impeding in any way with any criminal,

  civil or administrative forfeiture proceeding concerning the forfeiture.



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         12.         In furtherance of the satisfaction of' a forfeiture money judgment entered by the

  Court in this case, the defendant agrees to the follmving:

                a.   submit a financial statement to this Office upon request, within 14 days;

                b. maintain any asset valued in excess of S 10,000, and not sell, hide, waste,

  encumber, destroy, or devalue any such asset ,vithout prior approval of the United States;

                c.    provide information about any transfer of an asset valued in excess of

  S 10,000 since the commencement of the offense conduct in this case to date;

            d.       cooperate fully in the investigation and the identification of assets,

  including liquidating assets, meeting with representatives of the United States, and

  providing any documentation requested; and

            e.       notify, within 30 days, the Clerk of the Court for the Southern District of

  Florida and this Office of: (i) any change of name, residence, or mailing address, and (ii)

  any material change in economic circumstances.

          13.        The defendant further understands that providing false or incomplete information

  about assets, concealing assets, making materially false statements or representations, or making

  or using false writings or documents pertaining to assets, taking any action that would impede the

  forfeiture of assets, or failing to cooperate fully in the investigation and identification of assets

  may be used as a basis for: (i) separate prosecution, including, under 18 U.S.C. § 1001; or (ii)

  recommendation of a denial of a reduction for acceptance of responsibility under to Sentencing

  Guideline § 3El .1.

          14.        The defendant understands that if he is not United States citizen, his conviction for

  this offense may result in his probable or mandatory removal or deportation from the United States

  at the expiration of his term of imprisonment Removal and deportation proceedings are entirely



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7     separate matters from this case, and neither the court nor counsel for either party can be certain of

      the effect on the defendant's immigration status of his guilty pica. The defendant nevertheless

      affirms that he wants to plead guilty even if this results in his automatic removal and exclusion

      from the United States.

              15.    The defendant is aware that his sentence has not yet been determined by the court.

      The defendant also is aware that any estimate of the probable sentencing range or sentence that he

      may receive, whether that estimate comes from his attorney, the government, or the Probation

      Office, is a prediction, not a promise, and is not binding on the government, the Probation Office,

      or the court. The defendant further understands that any recommendation that the government

      makes to the court as to sentencing, whether pursuant to thi s agreement or otherwise, is not binding

      on the comi and the court may disregard the recommendation in its entirety. The defendant
                                                                                          ,:


      understands that he may not withdraw his guilty plea even if the court declines to accept any

      motions or recommendation made on his behalf.

              16.    This is the entire agreement and understanding between the United States and the

      defendant. There are no other agreements, promises, representations, or understandings.

                                                    JUAN ANTONIO GONZALEZ
                                                    UNITED STA TES ATTORNEY

      Date:   ( 2- /t,   .--z~              By:
                                                      ~ ~
                                                    F~H.TAMEN
                                                    ASSISTANT ~/1D STATES ATTORNEY

      Date:                                 By:     ~\Jw\ .(JJC:-
                                                    MICHAEL DAVIS
                                                           RNEY FOR DEFENDANT

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                                                       }(RO ROOERTO HERNANJMfZ
                                                    DEFENDANT




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